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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



                                            Criminal No.: 1: 22-cr-00354-RCL-
                                            1 and 2
  UNITED STATES OF AMERICA,
                   -v-
                                               DEFENDANTS REPLY TO
    RICHARD SLAUGHTER, and
                                             UNITED STATES ’RESPONSE
        CADEN GOTTFRIED,                         IN OPPOSITION TO
                                              DEFENDANT'S MOTION IN
                         Defendants.
                                             LIMINE TO PRECLUDE ALL
                                               DISCUSSIONS OF SIGNS,
                                                    BARRICADES,
                                            ANNOUNCEMENTS, AND BAD
                                                 ACTS NOT SEEN OR
                                                  COMMITTED BY
                                                   DEFENDANTS.




    DEFENDANTS REPLY TO UNITED STATES ’RESPONSE IN
 OPPOSITION TO DEFENDANT'S MOTION IN LIMINE TO PRECLUDE
         ALL DISCUSSIONS OF SIGNS, BARRICADES,
ANNOUNCEMENTS, AND BAD ACTS NOT SEEN OR COMMITTED BY
                     DEFENDANTS.

COMES NOW, the Defendants Slaughter and Gottfried, by and through his

counsel of record John Pierce, with this reply to “United States Response in

opposition to Defendants’ Motion in Limine to Preclude All Discussion of Signs,

Barricades or Announcements Not Seen by Defendants as well as All Discussion

of Bad Acts, Crimes, or Guilt by People Other than Defendants” (“the response,”

Doc. 74.). Slaughter and Gottfried (“the defendants”) request that the Court
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preclude from trial “any evidence, discussion, or argument regarding signs,

fencing, dispersal announcements, barricades or other barriers” unless the

government makes a showing that the defendants were “in a place to clearly and

obviously witness such features.” Defendant’s Motion, Dkt. 69, at 1. They also

seek to preclude the government from offering evidence or testimony “that others

may have committed bad acts or crimes as a way to impose guilt” on the

defendants. Id at 2. Defendants’ Motion should be granted.

     The government must not use guilt by association to try to convict

Defendants Slaughter and Gottfried. Anything outside of direct evidence

specifically to do with Slaughter or Gottfried would create a false narrative of guilt

by association. This Evidence would be confusing, misleading, and time

consuming.

Under Rules 401 and 403, Defendants Slaughter and Gottfried seeks an order

precluding prosecutors or prosecution witnesses from arguing or suggesting

Defendants Slaughter and Gottfried is guilty of any crime(s) due to the criminal

conduct of others. Such evidence or argument is irrelevant, confusing, and

misleading.

In the alternative, Defense requests a limiting instruction

     In the alternative, Defense requests a limiting instruction to the jury

instructing the jury that jurors may consider evidence of unseen signs or

announcements or barriers only to show a government witness’s claims that there
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were such barriers—and NOT as evidence of what defendant’s witnessed.

Dated: November 01,
2023

                                                       Respectfully Submitted,
                                                             /s/ John M. Pierce
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                                                       Attorney for Defendants
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CERTIFICATE OF SERVICE



I, John M. Pierce, hereby certify that on this day, November 01, 2023, I caused a
copy of the foregoing document to be served on all counsel through the Court’s
CM/ECF case filing system.



/s/ John M. Pierce
John M. Pierce
